     Case 7:20-cv-00113-MCR-GRJ Document 148 Filed 05/17/22 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION
 IN RE: 3M COMBAT ARMS                     Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to:                 Judge M. Casey Rodgers
 Vilsmeyer, 7:20cv113                      Magistrate Judge Gary R. Jones

                            REFERRAL AND ORDER

Referred to Judge M. Casey Rodgers on:       May 13, 2022

Motion/Pleadings: Plaintiff’s Consent Motion to Extend Time to Submit Bill of
                  Costs Through Appeal
Filed by: Plaintiff                   on May 13, 2022           ECF. #      147

         Stipulated             Joint Pleading
         Unopposed      X       Consented

                                      JESSICA J. LYUBLANOVITS
                                      CLERK OF COURT
                                      /s/ Donna Bajzik
                                      Deputy Clerk:    Donna Bajzik


      On consideration, the motion is GRANTED, as requested. Plaintiff’s bill of

costs is due 14 days after the conclusion of any appeal from the final judgment.

      DONE and ORDERED this 17th day of May, 2022.



                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
